             Case 4:22-cv-04284-HSG Document 28 Filed 07/29/22 Page 1 of 4

                                                                         FILE
                                                                                JUL2 9
 1   Denise McCloud
                                                                        CLERK, U.S. DISTRICT COURT
 2                                                                    NORTHERN DISTRICT OF CALIFORNIA

 3   Message Telephone:(707)974-6410
 4
     ProSe
 5


6
                                 UNITED STATES DISTRICT COURT
 7
                              NORTHERN DISTRICT OF CALIFORNIA
 8


9
      DENISE MCLOUD,et al.                                Case No. 22-cv-04284-HSG
10


11            Plaintiffs,                                 REPLY TO COUNTY'S OPPOSITION
                                                          TO PLAINTIFFS' TRO
12
              V.


13
      COUNTY OF SONOMA et al.
14

              Defendants.
15


16


17


18
     Plaintiffs continue to require the Court's protection due to the inadequacy of the
19


20   placements as discussed below.

21


22
     Placements discriminate against unhoused people
23


24


25   In the past, the County has not rehoused us at another hotel if hotels decide they do not
26
     want to rent rooms to the County to house us there. In one instance an unhoused person
27


28
     REPLY TO COUNTY'S OPPOSITION TO PLAINTIFFS' TRO,CASE NO. 22-CV-04284-HSG
Case 4:22-cv-04284-HSG Document 28 Filed 07/29/22 Page 2 of 4
Case 4:22-cv-04284-HSG Document 28 Filed 07/29/22 Page 3 of 4
Case 4:22-cv-04284-HSG Document 28 Filed 07/29/22 Page 4 of 4
